               DIANE M. MANN, CHP 7 PANEL TRUSTEE
               PO BOX 12970
1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.     SCOTTSDALE, AZ 85267-2970
                                 UNITED STATES BANKRUPTCY COURT
                                       AZ DISTRICT OF ARIZONA
                                          PHOENIX DIVISION


              In re:                                           §
                                                               §
              TWILLEY, WILLIAM JOSEPH                          §      Case No. 16-06615-PHX MCW
              TWILLEY, GRACE LORRAINE                          §
                                                               §
                                  Debtors                      §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DIANE M. MANN, TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 0.00                                  Assets Exempt: 92,405.08
              (Without deducting any secured claims)

              Total Distributions to Claimants: 748.49                Claims Discharged
                                                                      Without Payment: 472,422.53

              Total Expenses of Administration: 1,275.51


                      3) Total gross receipts of $ 2,024.00 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 2,024.00 from the liquidation of
              the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                   $ 70,690.00               $ 0.00                $ 0.00                   $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA              1,275.51             1,275.51                 1,275.51

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                  NA                    NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                  NA                  NA                    NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                            392,979.45          375,503.13             375,503.13                   748.49

TOTAL DISBURSEMENTS                               $ 463,669.45       $ 376,778.64           $ 376,778.64                $ 2,024.00


                  4) This case was originally filed under chapter 7 on 06/09/2016 . The case was pending
          for 16 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 10/10/2017                        By:/s/DIANE M. MANN, TRUSTEE
                                                                          Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                            EXHIBITS TO
                                                          FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

UMB BANK, N.A., CHECKING ACCOUNT
#0275                                                                        1129-000                                    127.80

UMB BANK, N.A., SAVINGS ACCOUNT
#0215                                                                        1129-000                                     40.68

    STATE TAX REFUND-2016                                                    1224-000                                    131.52

    SETTLEMENT PROCEEDS- DEBTORS                                             1249-000                                    812.00

    SETTLEMENT PROCEEDS- SON                                                 1249-000                                    912.00

TOTAL GROSS RECEIPTS                                                                                                 $ 2,024.00
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                   NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                             $ 0.00
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS




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                                                UNIFORM        CLAIMS
                                                                                CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                              CLAIMS PAID
                                                                               ASSERTED           ALLOWED
                                                 CODE      (from Form 6D)

            Nissan Motor Acceptance
            Corporation
            Bankruptcy Department P.O.
            Box 660360 Dallas, TX 75266                           27,087.00                NA               NA               0.00


            Vantage West Credit Union
            Corporate Office 2480 N.
            Arcadia Avenue Tucson, AZ
            85712                                                 43,603.00                NA               NA               0.00

TOTAL SECURED CLAIMS                                            $ 70,690.00              $ 0.00           $ 0.00           $ 0.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                          SCHEDULED           ASSERTED            ALLOWED
                                          CODE

MANN, DIANE M., TRUSTEE                   2100-000                    NA             506.00             506.00            506.00


MANN, DIANE M., TRUSTEE                   2200-000                    NA              18.54              18.54             18.54


GUITTILLA MURPHY
ANDERSON                                  3210-000                    NA             700.00             700.00            700.00


GUITTILLA MURPHY
ANDERSON                                  3220-000                    NA              50.97              50.97             50.97

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA          $ 1,275.51         $ 1,275.51        $ 1,275.51
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                         UNIFORM
                                                            CLAIMS              CLAIMS              CLAIMS
              PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                          SCHEDULED            ASSERTED            ALLOWED
                                          CODE

NA                                              NA                    NA                    NA               NA              NA

TOTAL PRIOR CHAPTER ADMIN.                                           $ NA                 $ NA           $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                CLAIMS             CLAIMS
                                                UNIFORM
                                                              SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                               (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                                   6E)              Claim)

NA          NA                                       NA                 NA                    NA              NA             NA

TOTAL PRIORITY UNSECURED                                               $ NA                 $ NA             $ NA           $ NA
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                CLAIMS             CLAIMS
                                                UNIFORM
                                                              SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                              CLAIMS PAID
                                                               (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                                   6F)              Claim)

            Greater Regional Medical
            Center
            1700 W. Townline St, Ste 3
            Creston, IA 50801                                       3,554.12                  NA              NA             0.00


            Jutla & Dovitz, P.C.
            259 E. Rand Rd., Ste. 212
            Mount Prospect, IL 60056                                1,948.95                  NA              NA             0.00




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                                                              CLAIMS             CLAIMS
                                                UNIFORM
                                                            SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                                 6F)              Claim)

            Newman & Associates, LTD
            7161 N. Cicero Ave., Suite
            200 Lincolnwood, IL 60712                             92,164.82                 NA             NA               0.00


            AMERICAN INFOSOURCE
01          LP AS AGENT FOR                     7100-000          11,200.00          11,200.21       11,200.21            23.73


            CHN ADVISORY GROUP
04          LC                                  7100-000        262,383.43          278,030.41     278,030.41            589.05


02          COMPASS BANK                        7100-000                NA           42,558.47       42,558.47            90.17


03          COMPASS BANK                        7100-000          21,728.13          21,496.91       21,496.91            45.54


            VANTAGE WEST CREDIT
05          UNION                               7200-000                NA           22,217.13       22,217.13              0.00

TOTAL GENERAL UNSECURED                                        $ 392,979.45       $ 375,503.13    $ 375,503.13          $ 748.49
CLAIMS




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                                                                                  FORM 1
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:       1
                                                                               ASSET CASES                                                                                                     Exhibit 8
Case No:            16-06615-PHX     MCW Judge: MADELEINE C. WANSLEE                                                     Trustee Name:                     DIANE M. MANN, TRUSTEE
Case Name:          TWILLEY, WILLIAM JOSEPH                                                                             Date Filed (f) or Converted (c):   06/09/16 (f)
                    TWILLEY, GRACE LORRAINE                                                                             341(a) Meeting Date:               07/12/16
For Period Ending: 07/06/17                                                                                             Claims Bar Date:                   01/30/17



                                     1                                  2                          3                         4                         5                                 6
                                                                                          Estimated Net Value
                                                                    Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                    Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)           Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. 2014 NISSAN MAXIMA SV SEDAN                                        21,625.00                             0.00                                                0.00                 FA
 2. 2015 NISSAN ALTIMA 2.5 S SEDAN                                     15,052.00                             0.00                                                0.00                 FA
 3. 1 KITCHEN TABLE $35.00. 4 KITCHEN TABLE CHAIRS $40                  1,905.00                             0.00                                                0.00                 FA
 4. 2 TELEVISIONS $350.00. 2 RADIOS $85.00. 1 VCR $25.                      500.00                           0.00                                                0.00                 FA
 5. 1 DESKTOP COMPUTER $90.00. 1 LAPTOP COMPUTER $45.0                      135.00                           0.00                                                0.00                 FA
 6. MISC. BOOKS                                                             400.00                           0.00                                                0.00                 FA
 7. 1 SET OF GOLF CLUBS                                                      95.00                         95.00                                                 0.00                 FA
     INCLUDED IN SETTLEMENT
 8. 1 RUGER 22 FIREARM $175.00. 1 22 LONG RIFLE $175.0                      350.00                           0.00                                                0.00                 FA
 9. MISC. MEN'S CLOTHING $300.00. MISC. WOMEN'S CLOTHI                      400.00                           0.00                                                0.00                 FA
 10. 2 GOLD WEDDING BANDS $162.50. 2 GOLD WEDDING BANDS                     325.00                           0.00                                                0.00                 FA
 11. 1 ANNIVERSARY GOLD RING WITH LITTLE DIAMONDS                           350.00                        350.00                                                 0.00                 FA
     INCLUDED IN SETTLEMENT
 12. UMB BANK, N.A., CHECKING ACCOUNT #2202                            17,638.80                             0.00                                                0.00                 FA
 13. UMB BANK, N.A., CHECKING ACCOUNT #0275                                 109.22                        127.80                                             127.80                   FA
 14. UMB BANK, N.A., SAVINGS ACCOUNT #0215                                  340.68                         40.68                                                40.68                 FA
 15. UMB BANK, N.A., HELOC ACCOUNT #0001, BALANCE AS OF                       0.00                           0.00                                                0.00                 FA
 16. MODERN WOODMEN OF AMERICA, IRA ACCOUNT #4366.                      1,078.99                             0.00                                                0.00                 FA
 BALA
 17. EDWARD JONES, IRA ACCOUNT #51-1-5.                                13,012.33                             0.00                                                0.00                 FA
 18. EDWARD JONES, IRA ACCOUNT #52-1-4.                                12,648.58                             0.00                                                0.00                 FA
 19. NATIONAL GUARDIAN LIFE INSURANCE COMPANY, GROUP LI                       0.00                           0.00                                                0.00                 FA
 20. PREPAID FUNERAL EXPENSES WITH MOUNTAIN VIEW                        5,000.00                             0.00                                                0.00                 FA
 FUNERA
 21. STATE TAX REFUND-2016 (u)                                                0.00                        131.52                                             131.52                   FA
 22. SETTLEMENT PROCEEDS- DEBTORS (u)                                         0.00                        812.00                                             812.00                   FA



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                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        2
                                                                                               ASSET CASES                                                                                                              Exhibit 8
Case No:             16-06615-PHX      MCW Judge: MADELEINE C. WANSLEE                                                                          Trustee Name:                     DIANE M. MANN, TRUSTEE
Case Name:           TWILLEY, WILLIAM JOSEPH                                                                                                   Date Filed (f) or Converted (c):   06/09/16 (f)
                     TWILLEY, GRACE LORRAINE                                                                                                   341(a) Meeting Date:               07/12/16
                                                                                                                                               Claims Bar Date:                   01/30/17



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 23. SETTLEMENT PROCEEDS- SON (u)                                                                0.00                            912.00                                             912.00                      FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                        $90,965.60                          $2,469.00                                           $2,024.00                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TRUSTEE INVESTIGATING IF $5,000 PRE-PAID BURIAL PLAN CAN BE CANCELED AND FUNDS RETURNS. June 27, 2016. OBJECTION TO
   CLAIMED EXEMPTIONS FILED. July 01, 2016. DEBTOR'S RESPONSE FILED. July 20, 2016. AWAITING HEARING DATE. August 18, 2016.
   PER MAGUIRE, PREPAID FUNERAL EXPENSES ARE EXEMPT. CREDITOR PROVIDED LETTER/EXHIBITS ABOUT POSSIBLE ASSETS AND
   TRANSFERS. REQUESTED MORE INFO FROM DEBTORS TO INVESTIGATE CHN'S ALLEGATIONS. October 11, 2016. RECEIVED INFO FROM
   DEBTORS; ANALYZING INFO RE: JANI-SERV AND BJT ENT. November 22, 2016. REVIEWING 2014 AND 2015 BUSINESS TAX RETURNS TO
   DETERMINE BUSINESS OWNERSHIP. December 09, 2016. PER MAGUIRE, APPEARS DEBTORS TRANSFERRED BUSINESS RIGHT BEFORE THEY
   FILED BK. REQUESTED. February 5, 2017. SCHEDULING 2004 EXAM. DEMAND MADE FOR AZ REFUND CHECK. APPLICATION FOR 2004 EXAM
   FILED. March 28, 2017. 2004 EXAM SET FOR 5/11. April 10, 2017. TRUSTEE AND DEBTORS SETTLED ALL REMAINIG ISSUES. May 25,
   2017. DEMAND MADE FOR RETURN OF FUNDS PAID TO SON. MOTION TO APPROVE SETTLEMENT FILED; CASE TO CLOSE ONCE ORDER
   GRANTED. June 06, 2017. TFR FILED. July 06, 2017 (DMMANN)


   Initial Projected Date of Final Report (TFR): 02/15/17           Current Projected Date of Final Report (TFR): 07/15/17




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                                                                                                FORM 2                                                                                        Page:    1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:           16-06615-PHX -MCW                                                                                    Trustee Name:                      DIANE M. MANN, TRUSTEE
  Case Name:         TWILLEY, WILLIAM JOSEPH                                                                              Bank Name:                         UNION BANK
                     TWILLEY, GRACE LORRAINE                                                                              Account Number / CD #:             *******2737 Checking Account
  Taxpayer ID No:    *******3866
  For Period Ending: 10/10/17                                                                                             Blanket Bond (per case limit):     $ 29,161,778.00
                                                                                                                          Separate Bond (if applicable):


           1              2                             3                                                4                                            5                        6                  7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                           0.00
          03/27/17                DEBTOR                                         STATE INCOME TAX REFUND                                                    300.00                                      300.00
                         21                                                         Memo Amount:      131.52                    1224-000
                                                                                 STATE INCOME TAX REFUND
                         14                                                        Memo Amount:      40.68                      1129-000
                                                                                 NON-EXEMPT BANK ACCT FUNDS
                         13                                                        Memo Amount:      127.80                     1129-000
                                                                                 NON-EXEMPT BANK ACCT FUNDS
          05/25/17       22       DEBTORS                                        SETTLEMENT/COMPROMISE OF CLAIM                 1249-000                    812.00                                    1,112.00
          06/05/17       23       DEBTORS                                        SETTLEMENT/COMPROMISE OF CLAIM                 1249-000                    912.00                                    2,024.00
          08/16/17     010001     DIANE M. MANN, TRUSTEE                         Chapter 7 Compensation/Fees                    2100-000                                           506.00             1,518.00
                                  PO BOX 12970
                                  SCOTTSDALE, AZ 85267-2970
          08/16/17     010002     DIANE M. MANN, TRUSTEE                         Chapter 7 Expenses                             2200-000                                            18.54             1,499.46
                                  PO BOX 12970
                                  SCOTTSDALE, AZ 85267-2970
          08/16/17     010003     DAWN BAYNE MAGUIRE, ESQ.                       Claim A1, Payment 100.00000%                   3210-000                                           700.00               799.46
                                  GUITTILLA MURPHY ANDERSON                      ATTORNEY FEES
                                  5415 E HIGH STREET, STE 200
                                  PHOENIX, AZ 85054
          08/16/17     010004     DAWN BAYNE MAGUIRE, ESQ.                       Claim A2, Payment 100.00000%                   3220-000                                            50.97               748.49
                                  GUITTILLA MURPHY ANDERSON                      ATTORNEY EXPENSES
                                  5415 E HIGH STREET, STE 200
                                  PHOENIX, AZ 85054
          08/16/17     010005     AMERICAN INFOSOURCE LP AS AGENT FOR            Claim 01, Payment 0.21187%                     7100-000                                            23.73               724.76
                                  TD BANK, USA
                                  PO BOX 248866
                                  OKLAHOMA CITY, OK 73124-8866
          08/16/17     010006     COMPASS BANK                                   Claim 02, Payment 0.21187%                     7100-000                                            90.17               634.59


                                                                                                                          Page Subtotals                   2,024.00                1,389.41
                                                                                                                                                                                                      Ver: 20.00e
LFORM24                               Case 2:16-bk-06615-MCW                   Doc 61      Filed 10/25/17            Entered 10/25/17 08:39:28                   Desc
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                                                                                                    FORM 2                                                                                                    Page:      2
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                        Exhibit 9
  Case No:           16-06615-PHX -MCW                                                                                           Trustee Name:                       DIANE M. MANN, TRUSTEE
  Case Name:         TWILLEY, WILLIAM JOSEPH                                                                                     Bank Name:                          UNION BANK
                     TWILLEY, GRACE LORRAINE                                                                                     Account Number / CD #:              *******2737 Checking Account
  Taxpayer ID No:    *******3866
  For Period Ending: 10/10/17                                                                                                    Blanket Bond (per case limit):      $ 29,161,778.00
                                                                                                                                 Separate Bond (if applicable):


           1                2                               3                                                4                                                 5                          6                         7
    Transaction         Check or                                                                                                        Uniform                                                               Account / CD
       Date             Reference                 Paid To / Received From                        Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                     401 WEST VALLEY AVE
                                     HOMEWOOD, AL 35209
          08/16/17       010007      COMPASS BANK                                    Claim 03, Payment 0.21184%                        7100-000                                                 45.54                     589.05
                                     401 WEST VALLEY AVE
                                     HOMEWOOD, AL 35209
          08/16/17       010008      CHN ADVISORY GROUP LC                           Claim 04, Payment 0.21187%                        7100-000                                                589.05                        0.00
                                     KENNETH B. VAUGHN ESQ                           PROMISSORY NOTES
                                     6225 N 24 STREET, SUITE 125
                                     PHOENIX, AZ 85016

                                             Memo Allocation Receipts:             300.00                    COLUMN TOTALS                                         2,024.00                   2,024.00                        0.00
                                         Memo Allocation Disbursements:              0.00                        Less: Bank Transfers/CD's                             0.00                       0.00
                                                                                                             Subtotal                                              2,024.00            2,024.00
                                                   Memo Allocation Net:            300.00                        Less: Payments to Debtors                                                 0.00
                                                                                                             Net
                                                                                                                                                                   2,024.00            2,024.00
                                                                                                                                                                                     NET                             ACCOUNT
                     Total Allocation Receipts:                 300.00                                       TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                    0.00                                       Checking Account - ********2737                      2,024.00                    2,024.00                         0.00
                                                                                                                                                     ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:                 300.00
                                                                                                                                                                  2,024.00                    2,024.00                         0.00
                                                                                                                                                     ==============             ==============              ==============
                                                                                                                                                      (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                 Transfers)               To Debtors)                    On Hand




                                                                                                                                 Page Subtotals                        0.00                     634.59
                                                                                                                                                                                                                        Ver: 20.00e
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